                                  CERTIFICATE OF SERVICE


                 I, James E. O’Neill, hereby certify that on the 16th day of July, 2019, I caused a

copy of the following document to be served on the individuals on the attached service list in the

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                      Notice of Appearance and Request for Service of Papers

                                                /s/ James E. O’Neill
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DOCS_DE:224538.1 51411/003
Re Limited Stores C., 17-10124 (KBO)
UMB Bank, NA v Sun Capital Partners V, LP, et al.
Adv. Proc. No. 19-50272 (KBO)
Doc #224537
02-First Class Mail

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DOCS_DE:224537.1 51411/003
